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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
               Plaintiff,
                                                          CASE NO: 4:18MJ3182
      vs.

DAMON D. WILLIAMS,                                        DETENTION ORDER
                Defendant.



       On the government's motion, the court afforded the defendant an opportunity for
a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f).             The court
concludes the defendant must be detained.

       There is a rebuttable presumption that no condition or combination of conditions
of release will reasonably assure the defendant’s appearance at court proceedings and
the safety of the community because there is probable cause to believe the defendant
committed a felony involving possession or use of a firearm or destructive device or any
other dangerous weapon. The defendant has not rebutted this presumption.

       Based on the information of record, the court finds by a preponderance of the
evidence that the defendant's release would pose a risk of nonappearance at court
proceedings, and by clear and convincing evidence that the defendant's release would
pose a risk of harm to the public.

       Specifically, the court finds that the defendant has a criminal history of violating
the law and court orders; has a history of harming or threatening harm to others; fled to
Texas to avoid arrest on the crime alleged; has failed to appear for court proceedings in
the past; presented no evidence opposing the presumption of detention; and conditions
which restrict Defendant’s travel, personal contacts, and possession of drugs, alcohol,
and/or firearms; require reporting, education, employment, or treatment; or monitor
Defendant’s movements or conduct; or any combination of these conditions or others
currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate
the risks posed if the defendant is released.
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                            Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult
privately with defense counsel. On order of the United States Court or on request of an
attorney for the Government, the person in charge of the corrections facility must deliver
the defendant to the United States marshal for a court appearance.

      Dated December 28, 2018.

                                                BY THE COURT:

                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
